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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SAUL CHILL and SYLVIA CHILL, for the use and
benefit of the CALAMOS GROWTH FUND,
                                                                  OPINION AND ORDER
                               Plaintiffs,
                                                                       15 Civ. 1014 (ER)
               - against -

CALAMOS ADVISORS LLC,

                               Defendant.


Ramos, D.J.:

       Saul Chill and Sylvia Chill (“Plaintiffs”) are shareholders in the Calamos Growth Fund

(the “Fund”), a mutual fund advised and managed by Defendant Calamos Advisors LLC

(“Calamos”). Plaintiffs bring this action on behalf of and for the benefit of the Fund, pursuant to

the Investment Company Act of 1940, 15 U.S.C. § 80a–1 et seq. (the “ICA”). Plaintiffs allege

Calamos breached its fiduciary duty with respect to Calamos’ receipt of compensation for

investment-adviser services provided to the Fund. Calamos now moves for summary judgment

pursuant to Rule 56 of the Federal Rules of Civil Procedure. Doc. 65. In connection with the

motion, both parties have moved, pursuant to Daubert v. Merrell Dow Pharm., Inc., 509 U.S.

579 (1993), to exclude certain expert testimony. In particular, Calamos seeks to exclude

partially the testimony of two of Plaintiffs’ expert witnesses, see Doc. 88, and Plaintiffs seek to

exclude the testimony of five of Calamos’ expert witnesses, see Docs. 106, 109, 112, 115, 118.

For the reasons set forth below, Calamos’ summary judgment motion is DENIED in part and

GRANTED in part, and the parties’ Daubert motions are DENIED.
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I. BACKGROUND

       A. The Investment Company Act of 1940

       The ICA regulates investment companies, including mutual funds. “A mutual fund is a

pool of assets, consisting primarily of portfolio securities, and belonging to the individual

investors holding shares in the fund.” Burks v. Lasker, 441 U.S. 471, 480 (1979). Typically, a

mutual fund is created by a separate entity called an investment adviser, which also selects the

fund’s board of trustees, manages the fund’s investments, provides the fund administrative

services, and markets the fund to shareholders, all in exchange for various fees paid out from the

fund’s assets. Jones v. Harris Assocs. L.P., 559 U.S. 335, 338 (2010); see also Daily Income

Fund, Inc. v. Fox, 464 U.S. 523, 536 (1984). Because the investment adviser is integral to the

fund’s existence and selects the fund’s board, often the fund “cannot, as a practical matter[,]

sever its relationship with the adviser. Therefore, the forces of arm’s-length bargaining do not

work in the mutual fund industry in the same manner as they do in other sectors of the American

economy.” Burks, 441 U.S. at 481 (quoting S. Rep. No. 91–184, at 5 (1969)). Consequently, a

report commissioned by the U.S. Securities and Exchange Commission (“SEC”) found that

“investment advisers often charged mutual funds higher fees than those charged [to] the

advisers’ other clients and further determined that the structure of the industry, even as regulated

by the [1940 version of the ICA], had proven resistant to efforts to moderate adviser

compensation.” Daily Income Fund, 464 U.S. at 537 (citing Wharton School Study of Mutual

Funds, H.R. Rep. No. 87-2274, at 28–30, 34, 66–67 (1962)).

       Thus, in 1970 Congress added Section 36(b) to the ICA to check this structural conflict of

interest. Id. at 537–39. Of note, Section 36(b) adds two requirements to the ICA. First, the

statute requires that mutual funds be governed by a board of trustees, at least 40 percent of whom



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must be independent and disinterested. See Burks, 441 U.S. at 482–83; 15 U.S.C. §§ 80a–

2(a)(19), 80a–10. The board of trustees, acting on behalf of the fund, is responsible for

negotiating, approving, and periodically evaluating the terms of any investment-management

agreements between the fund and its investment adviser(s). These responsibilities include

evaluating and approving any service fees charged to the fund by its investment adviser. See §§

80a–15(c), 80a–35(a)–(b).

         Second, and most pertinent to this case, Section 36(b) “impose[s] upon investment

advisers a ‘fiduciary duty’ with respect to compensation received from a mutual fund, and

grant[s] individual investors a private right of action for breach of that duty.” Jones, 559 U.S. at

340 (citing § 80a–35(b)).

         B. The Fund

         Calamos is an investment adviser registered under the Investment Advisers Act of 1940,

15 U.S.C. § 80b-1 et seq., and has served as the investment adviser to a variety of clients,

including Calamos-sponsored “open-end” mutual funds (like the Fund); Calamos-sponsored

“closed-end” funds; private accounts held by institutions and individuals (“institutional” clients);

and mutual funds sponsored by other investment advisers, for which Calamos performs sub-

advisory services only (“sub-advisory” clients). Pls.’ Counter 56.1, Doc. 148, ¶ 1. 1 Calamos

serves as the investment adviser to sixteen open-end mutual funds, including the Fund, known

collectively as the Calamos Investment Trust (“CIT”). Id. ¶ 3. Each fund within the CIT has a

different investment objective and strategy. Id. The Fund has been in operation since 1990, and

its investment strategy focuses on equity securities issued by U.S.-based companies that possess

large and mid-sized market capitalization (over $1 billion) and that Calamos has identified as


1
 Hereinafter, citations to the parties’ Rule 56.1 statements in this Opinion incorporate the evidentiary citations
contained therein.

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offering “the best opportunities for growth.” Id. ¶ 4; see also Compl., Doc. 1, ¶ 37. Plaintiffs

have been shareholders in the Fund since July 2005. Pls.’ Counter 56.1 ¶ 5.

        C. The Investment Management Agreement

        Pursuant to an Investment Management Agreement (the “IMA”) entered into on

December 13, 2004, Calamos provides investment advisory services to each Fund within the CIT

in exchange for an agreed-upon annual fee (the “Advisory Fee”). See IMA, Decl. of David A.

Kotler in Supp. of Def.’s Mot. for Summ. J. (“Kotler Decl.”), Doc. 67, Ex. 40 at 00146341–50.

Specifically, the IMA requires Calamos to: “(i) furnish continuously an investment program of

each [f]und, (ii) determine . . . what investments shall be purchased, held, sold or exchanged by

each [f]und and what portion, if any, of the assets of each [f]und shall be held uninvested, and

(iii) make changes on behalf of the [CIT] in the investments of each [f]und,” and “also manage,

supervise and conduct the other affairs and business of the [CIT] and each [f]und thereof and

matters incidental thereto, subject always to the control of the [CIT Board of] Trustees and to the

provisions of . . . the [ICA].” Id. at 00146341–42. In practice, Calamos either provides those

services directly or monitors the provision of those services by contracted third parties.

However, in all cases, Calamos ultimately remains responsible for the provision of those

services. Pls.’ Counter 56.1 ¶¶ 18–21.

        Calamos has also entered into another agreement with the CIT funds, namely, the

“Financial Accounting Services Agreement” (the “FASA”). See generally FASA, Kotler Decl.,

Ex. 41. Pursuant to the FASA, Calamos performs certain services for the CIT funds, including

the Fund, for an additional fee—in this case, approximately one basis point. 2 Id.


2
 During oral argument regarding Calamos’ motion for summary judgment, counsel for Calamos represented that the
annual fee paid under the FASA was one basis point. See Summ. J. Oral Arg. Tr. at 28:18–29:7, 31:4–9. Counsel
for Plaintiffs did not object to this representation.


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        Notably, during the relevant period, 3 “in evaluating the nature, quality and extent of

[Calamos’] services to the Fund (and the other Calamos-sponsored mutual funds),” the CIT

Board of Trustees “did not seek to separate out the services [Calamos] provide[d] under the IMA

as opposed to the FASA or distinguish whether a particular service [wa]s provided pursuant to

one agreement or the other.” Pls.’ Counter 56.1 ¶ 81.

        D. The Board of Trustees and the Annual 15(c) Process

        In accordance with the ICA, the Fund is overseen by the CIT Board of Trustees

(hereinafter the “Board”). Id. ¶ 22. During all times relevant, the Board has been comprised of a

super-majority of “Independent Trustees”—i.e., either five or six trustees that are not

“interested,” as that term is defined under the ICA, see 15 U.S.C. § 80a-2(a)(19)—and one

interested trustee, Calamos’ Founder, Chairman, and Global Chief Investment Officer, John P.

Calamos, Sr. See Pls.’ Counter 56.1 ¶¶ 23–24. Although the parties dispute the length of their

experience in the financial services industry, there is no dispute that the Independent Trustees

are, in fact, independent and qualified. Id. ¶ 24. Stephen Timbers has been appointed the “Lead

Independent Trustee” each year since 2004. Id. And at all times relevant, the Independent

Trustees were represented and advised by an independent and experienced mutual fund counsel

team, headed by Paulita M. Pike, a lawyer currently in the Investment Management practice of

the law firm Ropes & Gray LLP. Id. ¶¶ 37–39.

        Pursuant to the ICA, the Independent Trustees annually engaged in the so-called “15(c)

Process,” whereby they reviewed and voted to approve the IMA, and thus the Advisory Fees at


3
  Under Section 36(b), plaintiffs cannot recover from an investment adviser damages “for any period prior to one
year before the action was instituted.” See 15 U.S.C. § 80a-35(b)(3). Here, in accordance with Section 36(b),
Plaintiffs challenge only the Advisory Fees paid by the Fund to Calamos as far back as February 11, 2014—one year
prior to the filing of their Complaint. See Pls.’ Counter 56.1 ¶ 22. The Board, however, approved the Advisory Fee
then in effect during the June 2013 Board meeting. See June 2013 Board Minutes, Kotler Decl., Ex. 27 at
00503423–27. Thus, unless otherwise stated, the Court considers relevant the period as far back as the June 2013
Board meeting through the present.

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issue in this case, during the June Board meetings. In preparation for the 15(c) Process, the

Board met in person at least quarterly. Id. ¶¶ 29, 37; see 15 U.S.C. § 80a-15(c). In advance of

each meeting, the Board received from Calamos and various third parties a compendium of

written materials. Pls.’ Counter 56.1 ¶ 30. Those written materials included a




                                                                                            Id. The

Board then discussed several topics at the meetings; Calamos and third parties presented data to

the Board; and, while the parties dispute the extent of this, it is undisputed that the Board

engaged Calamos in some degree of questioning regarding the Fund’s performance, Calamos’

investment philosophy, and the structure of Calamos’ investment team. Id. ¶¶ 44–45.

           The 15(c) Process formally begins when the Independent Trustees, through their counsel,

submit a “detailed set of written information requests to [Calamos] on topics pertinent to the

Independent Trustees’ annual review and consideration of the IMA.” Id. ¶ 49. This submission

is commonly referred to as the “15(c) Request.” Id. Among the information sought through the

15(c) Request is information relating to the so-called Gartenberg factors, which courts and the

SEC have deemed relevant to the 15(c) Process. Id. ¶ 50; see also Gartenberg v. Merrill Lynch

Asset Mgmt., Inc., 694 F.2d 923 (2d Cir. 1982). 4 Such information included: (a) “[t]he nature,

quality, and extent of the services provided” by Calamos to the Fund; (b) “the profitability to

[Calamos] and its affiliates from their relationship with the Fund”; (c) whether and, if so, to what

extent Calamos was “realizing and/or sharing economies of scale with Fund shareholders”; (d)



4
    The Gartenberg factors are discussed more fully infra.

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“[h]ow the Fund’s management fee structure compares with those of other similar funds”; (e) an

analysis of any “fall-out” benefits to Calamos (i.e., the collateral benefits that accrued to

Calamos “as a result of its relationship with the Fund”); (f) “the investment performance of the

Fund, as well as performance information for comparable funds and other clients of [Calamos]

following comparable strategies”; and (g) “the fees and other expenses paid by the Fund, as well

as fee information for other clients of [Calamos], (i.e., for sub-advisory and institutional clients)

who follow a strategy similar to the Fund.” Pls.’ Counter 56.1 ¶¶ 50–51.

       Calamos typically takes                        to respond to the 15(c) Request, although the

parties dispute how much of that time is spent actively preparing responses. Id. ¶ 53.

Ultimately, Calamos’ response—commonly referred to as the “15(c) Response”—consists of

hundreds of pages of information provided to the Independent Trustees approximately

prior to the June Board meeting. Id. Following a review of the information, the Independent
                                                                                           -
Trustees, through their counsel, periodically request supplemental information, which Calamos

must then provide. Id. ¶ 54. The Independent Trustees also receive detailed information from

independent third-party service providers regarding the performance of and fees charged to the

Fund, and the performance of and fees charged to numerous comparable mutual funds. Id. ¶ 55.

       E. The Specific Information Provided to the Independent Trustees

       Based on the considerations set forth below, each year the Independent Trustees

approved the IMA and the Advisory Fee the Fund paid to Calamos.




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                 1. Comparative Fee Structures

          The table below reflects the breakpoint-based, 5 marginal Advisory-Fee schedule charged

to the Fund throughout the relevant period. The Advisory Fee is set "as a percentage of the

Fund's total assets under man agement ("AUM"), and decreases as the total AUM increases." Id.

,I 103.



                                Average Net Assets                Annual Fee
                                     in Fund

                                 $0 - $500 million                    1.00%
                             $500 million - $1 billion                .90%
                              $1 billion - $6 billion                 .80%
                              $6 billion - $ 11 billion               .78%
                             $ 11 billion - $ 16 billion              .76%
                             $16 billion - $21 billion                .74%
                             $21 billion - $26 billion                .72%
                                  Over $26 billion                    .70%


Although the Advisory Fee has remained unchanged during the relevant p eriod, the Fee as a

percentage of the Fund's total AUM has increased because the Fund' s total AUM have decreased

each year since 2013 . Id. ,i 104.

          The annual effective Adviso1y Fee paid by the Fund to Calamos during the relevant

period ranged from 80 to 86.9 basis points, generally fluctuating because of changes to the

Fund's AUM. Id. ,i 107. The lone exception came in 201 4, when the Independent Trnstees

approved a five-basis-point waiver to that year 's Advisory Fee, reducing the Fee to 78 basis

points from 83. Id. ,i 107 n. 158. The Fund's Advis01y Fee annually was




5''Breakpoints" are staggered reductions in marginal fee rates that accompany marginal increases in assets under
management. Breakpoints are used to reflect the reduced marginal cost of providing investment advisory services to
a growing pool of assets, allowing shareholders to reap some economy-of-scale benefits via reduced fees.

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                       6
                           Id. Indeed, dmi.ng the relevant period, the Fund 's Adviso1y Fee

                                                                                  Id.

       Each year, Calamos also presented to the Independent Tm stees a documen t -

                                                               Id.   ,r 110.   This presentation included,

among other things, a comparison of the Fund 's Advisory Fee to the standard range of fees

Calamos charged its institutional and sub-advis01y clients following the same broad investment

strategy. Id. Although Calamos provided the institutional and sub-advisory clients with the

same investment strategy as the Fund, Calamos charged them fees that were

                                       Id.   ,r 111 .   Calamos also provided the Independent Tm stees

info1mation concerning the differences in services, costs, an d risks entailed in advising the Fund

as compared to advising Calamos ' institutional and sub-adviso1y clients. Id.              ,r 109.
               2. Nature and Quality of Services, i. e., Performance of the Fund

       The Independent Tmstees also received info1mation from Calamos revealing that the

Fund's perfo1man ce was poor, in both relative and absolute te1ms, as compared to its own

benchmark and as compared to its peer funds. Id.            ,r 87.   For example, at least from 2014 to 2016,

the Fund placed overwhelmingly in

                                                                 Def. 's Resp. to Pis.' Statement of

Additional Material Facts ,r 385; id. App. D. Dming only one sh01t pe1i.od did the Fund perfo1m

better than                                                      Id.




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                            Id. ¶¶ 184, 412; id. Appx. A.

       During the relevant period, Calamos informed the Trustees of certain investments it was

making to improve the Fund’s performance. For example, purportedly in an effort to place

increased focus and resources to its management of the Fund, Calamos closed or reorganized

certain other Calamos-sponsored funds. Pls.’ Counter 56.1 ¶ 47(c). Calamos also informed the

Board of its efforts to improve the quality of the portfolio research and investment team and to

restructure its investment approach. Id. ¶ 90. As part of its effort to strengthen performance, in

February 2017 Calamos terminated and replaced the Fund’s lead portfolio manager. Id. ¶ 47(d).

               3. Profitability and Economies of Scale

       During the relevant period, the Trustees were well aware of Calamos’ pre- and post-

distribution profit margin for both the Fund and the other Calamos-sponsored funds. Id. ¶ 131.




       Each year, the Independent Trustees also asked Calamos for information concerning

whether it believed it had experienced, or in the future is likely to experience, economies of



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scale; 7 whether it has shared any economies of scale with the Fund; and whether (and, if so, to

what extent) more breakpoints should be added to the IMA to account for any realized

economies of scale. Pls.’ Counter 56.1 ¶ 141; see also, e.g., Calamos’ 2014 15(c) Response,

Kotler Decl., Ex. 3 at 00519137–38. In response to these requests, Calamos consistently

informed the Trustees that it



                                                                                                              Id.

What’s more, Calamos consistently maintained that it is

                                                       Calamos’ 2014 15(c) Response at 00519138; see

also Pls.’ Counter 56.1 ¶ 144.

        For each of the years during the relevant period, the Independent Trustees’ board minutes

reflect that the Trustees considered whether the Fund’s Advisory-Fee schedule, including the

breakpoints contained therein, was appropriate in light of the potential economies of scale

realized by Calamos. Pls.’ Counter 56.1 ¶¶ 145, 147. And in at least some of the years, the

board minutes reflect that the Trustees considered the benefits accruing to shareholders from

Calamos’ investments into the Fund’s infrastructure and investment processes.

See, e.g., id. at ¶ 148.




7
  “Section 36(b) was enacted in large part because Congress recognized that as mutual funds grew larger, it became
less expensive for investment advisers to provide the additional services. Congress wanted to ensure that investment
advisers passed on to fund investors the savings that they realized from these economies of scale.” Migdal v. Rowe
Price–Fleming Int’l, Inc., 248 F.3d 321, 326–27 (4th Cir. 2001) (citing Fogel v. Chestnutt, 668 F.2d 100, 111 (2d
Cir. 1981)).

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                 4. Fall-Out Benefits

        Each year, Calamos informed the Independent Trustees of the potential “fall-out benefits”

it enjoyed—i.e., the additional, non-fund sources of revenue accruing to Calamos as a result of

its relationship with the Fund. Id. ¶¶ 150–154.

II. PROCEDURAL BACKGROUND

        Plaintiffs filed this action on February 11, 2015, pursuant to Section 36(b) of the ICA, 15

U.S.C. § 80a-35(b). Compl., Doc. 1, ¶ 2. In their Complaint, Plaintiffs challenged both the

Advisory Fees paid to Calamos and the distribution fees paid to the Fund’s distributor, Calamos

Financial Services LLC (“CFS”). 8 Id. On June 12, 2015, Calamos moved to dismiss both

claims. Doc. 14. On March 28, 2016, the Court denied that motion. Doc. 26. The parties

conducted discovery over the next 18 months.

        On April 10, 2017, Plaintiffs voluntarily dismissed CFS with prejudice (and,

consequently, any challenge to distribution fees), pursuant to Rule 41(a)(1)(A)(ii) of the Federal

Rules of Civil Procedure. See Stipulation of Voluntary Dismissal with Prejudice, Doc. No. 53.

On October 13, 2017, Calamos filed the instant motion for summary judgment. Doc. 65. On

December 15, 2017, Calamos moved to exclude the opinions and testimony of Plaintiffs’ two

expert witnesses. Doc. 88. On February 9, 2018, Plaintiffs moved to exclude the opinions and

testimony of Calamos’ five experts. See Docs. 106, 109, 112, 115, 118. This Court held oral

argument on August 17, 2018.




8
  CFS is an affiliate of Calamos and serves as the Fund’s distributor—that is, “the exclusive agent to sell and
distribute shares of the [Fund].” Pls.’ Counter 56.1 ¶ 2. Whereas the Fund paid Advisory Fees to Calamos pursuant
to the IMA, the Fund paid CFS “distribution fees” pursuant to a separate agreement.

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III. DAUBERT MOTIONS

       Rule 702 of the Federal Rules of Evidence governs the admissibility of expert testimony:

       A witness who is qualified as an expert by knowledge, skill, experience, training,
       or education may testify in the form of an opinion or otherwise if: (a) the expert’s
       scientific, technical, or other specialized knowledge will help the trier of fact to
       understand the evidence or to determine a fact in issue; (b) the testimony is based
       on sufficient facts or data; (c) the testimony is the product of reliable principles and
       methods; and (d) the expert has reliably applied the principles and methods to the
       facts of the case.

Fed. R. Evid. 702. The party offering the testimony has the burden of establishing its

admissibility by a preponderance of the evidence. Bourjaily v. United States, 483 U.S. 171, 175–

76 (1987).

       “As the Supreme Court explained in Daubert, Rule 702 requires the district court to

ensure that ‘any and all scientific testimony or evidence admitted is not only relevant, but

reliable.’” Ruggiero v. Warner-Lambert Co., 424 F.3d 249, 253 (2d Cir. 2005) (citing Daubert,

509 U.S. at 589). In interpreting Rule 702, district courts, under Daubert, may consider,

depending on the case, the following non-exhaustive list of factors to determine whether

evidence is sufficiently reliable: “[1] whether a theory or technique had been and could be tested,

[2] whether it had been subjected to peer review, [3] what its error rate was, and [4] whether

scientific standards existed to govern the theory or technique’s application or operation.” Nimely

v. City of New York, 414 F.3d 381, 396 (2d Cir. 2005). In Kumho Tire Co. v. Carmichael, 526

U.S. 137 (1999), “the Supreme Court held that the trial judge’s gatekeeping obligation applies

not only to testimony based on ‘scientific’ knowledge, as in Daubert, but also to testimony based

on ‘technical’ or ‘other specialized’ knowledge.” Zaremba v. Gen. Motors Corp., 360 F.3d 355,

358 (2d Cir. 2004).




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       “Daubert and its progeny,” however, “do not apply straightforwardly in the context of

bench trials.” 720 Lex Acquisition LLC v. Guess? Retail, Inc., No. 09 Civ. 7199 (AJN), 2014

WL 4184691, at *10 (S.D.N.Y. Aug. 22, 2014). In jury trials, Daubert requires trial judges to

serve in a “gatekeeping” role by “assur[ing] that the specialized testimony is reliable and

relevant” to “help the jury evaluate that foreign experience.” Kumho Tire Co., 526 U.S. at 141,

149 (emphasis added). In bench trials, however, “there is no possibility of prejudice, and no

need to protect the factfinder from being overawed by ‘expert’ analysis.” Victoria’s Secret

Stores Brand Mgmt., Inc. v. Sexy Hair Concepts, LLC, No. 07 Civ. 5804 (GEL), 2009 WL

959775, at *8 n.4 (S.D.N.Y. Apr. 8, 2009). Because of this distinction, “[w]hen the fact-finder is

the court, expert evidence should be quite freely admitted so that the judge may have the benefit

of live testimony and cross-examination to determine how much weight, if any, to give to the

expert’s conclusions.” Royal & Sun All. Ins. PLC v. UPS Supply Chain Sols., Inc., No. 09 Civ

5935, 2011 WL 3874878, at *2 (S.D.N.Y. Aug. 31, 2011) (internal quotation marks and citation

omitted); see also Van Alen v. Dominick & Dominick, Inc., 560 F.2d 547, 552 (2d Cir. 1977)

(“[O]rdinarily it may be the more prudent course in a bench trial to admit into evidence

doubtfully admissible records, and testimony based on them . . . .”).

       Calamos seeks to exclude the opinions and testimony of two of Plaintiffs’ experts, and

Plaintiffs seek to exclude the opinions and testimony of five of Calamos’ experts. The Court will

deny, at this point, all of these challenges. “When the fact-finder is the court,” as is the case

here, “expert evidence should be quite freely admitted so that the judge may have the benefit of

live testimony and cross-examination to determine how much weight, if any, to give to the

expert’s conclusions.” Royal & Sun All. Ins. PLC, No. 09 C 5935, 2011 WL 3874878, at *2. If,

after live testimony, the Court concludes that any of the experts lack the proper qualifications or



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offer unreliable opinions, the Court will give those opinions little or no weight in its decision.

Cf. In re Salem, 465 F.3d 767, 777 (7th Cir. 2006) (“Thus, where the factfinder and the

gatekeeper are the same, the court does not err in admitting the evidence subject to the ability

later to exclude it or disregard it if it turns out not to meet the standard of reliability established

by Rule 702.”); United States v. Flores, 901 F.3d 1150, 1165 (9th Cir. 2018) (same); United

States v. Wood, 741 F.3d 417, 425 (4th Cir. 2013) (same).

        For the reasons set forth above, Plaintiffs’ and Calamos’ motions to exclude the

testimony and expert opinions are DENIED.

IV. MOTION FOR SUMMARY JUDGMENT

        A. Standard of Review

        Summary judgment is appropriate when “the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to summary judgment as a matter of

law.” Fed. R. Civ. P. 56(a). “An issue of fact is ‘genuine’ if the evidence is such that a

reasonable jury could return a verdict for the non-moving party.” Senno v. Elmsford Union Free

Sch. Dist., 812 F. Supp. 2d 454, 467 (S.D.N.Y. 2011) (citing SCR Joint Venture L.P. v.

Warshawsky, 559 F.3d 133, 137 (2d Cir. 2009)). A fact is “material” if it might affect the

outcome of the litigation under the governing law. Id. The party moving for summary judgment

is initially responsible for demonstrating the absence of any genuine issue of material fact.

Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). If the moving party meets its burden, “the

nonmoving party must come forward with admissible evidence sufficient to raise a genuine issue

of fact for trial in order to avoid summary judgment.” Saenger v. Montefiore Med. Ctr., 706 F.

Supp. 2d 494, 504 (S.D.N.Y. 2010) (internal quotation marks omitted) (citing Jaramillo v.

Weyerhaeuser Co., 536 F.3d 140, 145 (2d Cir. 2008)).



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       In deciding a motion for summary judgment, the Court must “construe the facts in the

light most favorable to the non-moving party and must resolve all ambiguities and draw all

reasonable inferences against the movant.” Brod v. Omya, Inc., 653 F.3d 156, 164 (2d Cir. 2011)

(citation omitted). However, in opposing a motion for summary judgment, the non-moving party

may not rely on unsupported assertions, conjecture or surmise. Goenaga v. March of Dimes

Birth Defects Found., 51 F.3d 14, 18 (2d Cir. 1995). Rather, “the non-moving party must set

forth significant, probative evidence on which a reasonable fact-finder could decide in its favor.”

Senno, 812 F. Supp. 2d at 467–68 (citing Anderson v. Liberty Lobby, 477 U.S. 242, 256–57

(1986)).

       B. Governing Law for Section 36(b) Excessive Fee Claims

       As noted above, Congress added Section 36(b) to the ICA “because it concluded

that . . . shareholders should not have to ‘rely solely on the fund’s directors to assure reasonable

adviser fees, notwithstanding the increased disinterestedness of the board.’” Kamen v. Kemper

Fin. Servs., Inc., 500 U.S. 90, 108 (1991) (quoting Daily Income Fund, 464 U.S. at 540).

Consequently, Section 36(b) provides in relevant part that “the investment adviser of a registered

investment company shall be deemed to have a fiduciary duty with respect to the receipt of

compensation for services, or of payments of a material nature, paid by such registered

investment company or by the security holders thereof, to such investment adviser or any

affiliated person of such investment adviser.” 15 U.S.C. § 80a-35(b).

       “[T]o face liability under [Section] 36(b), an investment adviser must charge a fee that is

so disproportionately large that it bears no reasonable relationship to the services rendered and

could not have been the product of arm’s length bargaining.” Jones v. Harris Associates L.P.,

559 U.S. 335, 346 (2010) (citing Gartenberg v. Merrill Lynch Asset Mgmt., Inc., 694 F.2d 923,



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928 (2d Cir. 1982)). Courts must look to all pertinent facts to determine whether fees are

excessive, including the factors set forth by the Second Circuit in Gartenberg:

        The Gartenberg Court specifically identified several factors for consideration in
        weighing “all pertinent” facts: (1) the nature and quality of services provided to the
        fund shareholders; (2) the profitability of the fund to the advisor-manager; (3) fall-
        out benefits; (4) economies of scale; (5) comparative fee structures; and (6) the
        independence and conscientiousness of the trustees.

In re Davis N.Y. Venture Fund Fee Litig., No. 14 Civ. 4318 (LTS), 2015 WL 7301077, at *4 n.3

(S.D.N.Y. Nov. 18, 2015) (citing Gartenberg, 694 F.2d at 929–32); see also Amron v. Morgan

Stanley Inv. Advisors Inc., 464 F.3d 338, 340–41 (2d Cir. 2006).

        Recognizing the important role disinterested trustees serve as “independent watchdogs”

of the mutual funds they oversee, Congress through the ICA “instructs courts to give board

approval of an adviser’s compensation ‘such consideration . . . as is deemed appropriate under all

the circumstances.’” Jones, 559 U.S. at 348 (quoting 15 U.S.C. § 80a-35(b)(2)). To that end,

Jones makes clear that “the standard for fiduciary breach under [Section] 36(b) does not call for

judicial second-guessing of informed board decisions.” Id. at 352. Indeed, Jones instructs courts

to refrain from “supplant[ing] the judgment of disinterested directors apprised of all relevant

information, without additional evidence that the fee exceeds the arm’s-length range.” Id. Put

differently:

        [I]f the disinterested directors considered the relevant factors, their decision to
        approve a particular fee agreement is entitled to considerable weight, even if a court
        might weigh the factors differently. This is not to deny that a fee may be excessive
        even if it was negotiated by a board in possession of all relevant information, but
        such a determination must be based on evidence that the fee is so disproportionately
        large that it bears no reasonable relationship to the services rendered and could not
        have been the product of arm’s-length bargaining.

Jones, 559 U.S. at 351 (emphasis added) (internal quotation marks and citations omitted).

Ultimately, “[w]here a board’s process for negotiating and reviewing investment-adviser


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compensation is robust, a reviewing court should afford commensurate deference to the outcome

of the bargaining process.” Id. at 351 (citation omitted). Likewise, “where the board’s process

was deficient or the adviser withheld important information, the court must take a more rigorous

look at the outcome.” Id. In the end, a court must focus on both procedure and substance. Id.

       Here, Calamos contends that summary judgment is warranted because the undisputed

evidence shows that: (1) the Independent Trustees engaged annually in a robust 15(c) Process

and reached an informed and conscientious decision in approving Calamos’ Advisory Fee,

entitling the Trustees’ judgment to substantial deference; and (2) there are no genuine disputes of

fact with respect to the remaining Gartenberg factors. Def.’s Mem. of Law in Supp. of Mot. for

Summ. J. (“Def.’s S.J. Mot.”), Doc. 66, at 18.

       Plaintiffs, for their part, maintain that triable issues of fact exist with respect to each

Gartenberg factor and with respect to the extent of deference owed, if any, to the Independent

Trustees’ approval of the Advisory Fees. See generally Pls.’ Mem. of Law in Opp. to Def.’s

Mot. For Summ. J. (Pls.’ S.J. Opp.), Doc. 76.

       Below, the Court addresses the parties’ arguments in turn.

V. DEFERENCE TO BOARD APPROVAL

       The Court begins by “calibrating the degree of deference” owed to the Independent

Trustees’ approval of the Advisory Fees. Jones, 559 U.S. at 352; accord Zehrer v. Harbor Cap.

Advisors, Inc., No. 14 C 00789, 2018 WL 1293230 (N.D. Ill. Mar. 13, 2018) (“The first phase of

review is to calibrate the degree of deference that should be given to the Board’s decision to

approve the fees.” (internal quotation marks and alterations omitted)).

       Calamos argues that the “the indisputable evidence in this case shows that the business

judgment to annually approve the IMA was reached following a robust process by the Fund’s



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independent and qualified trustees, and it is thus entitled to ‘considerable weight’ and

‘commensurate deference’ under Jones.” Def’s S.J. Mot. at 17 (quoting Jones, 559 U.S. at

351). 9 Plaintiffs, on the other hand, while not challenging the independence or qualifications of

the Independent Trustees, contend that the Trustees’ approval of the Advisory Fees is entitled to

minimal deference because they were not “fully informed about all the facts” and “did not

exercise care and conscientiousness” with respect to any of the Gartenberg factors. Pls.’ S.J.

Opp. at 27.

         After reviewing the procedure and substance of the Independent Trustees’ 15(c) Process,

and in light of the Gartenberg factors, the Court concludes that deficiencies surrounding the

Trustees’ evaluation of the Advisory Fees preclude the Court from affording the Trustees’

judgment substantial deference as a matter of law—at least at this stage of the litigation.

Accordingly, the Court DENIES Calamos’ motion for summary judgment insofar as it urges the

Court to afford substantial deference as a matter of law to the Trustees’ judgment.

         A. Alleged Deficiencies Involving the Trustees’ Evaluation of Comparative Fee
            Structures

         According to Plaintiffs, the Trustees’ process for evaluating comparative fee structures

was deficient in several respects.

                  1. Fees Paid by Comparable Clients

         First, Plaintiffs contend that the Trustees received deficient information from Calamos

regarding the fees paid by Calamos’ comparable institutional and sub-advisory clients. As the

basis for their argument, Plaintiffs point out that the Independent Trustees specifically requested



9
  Calamos acknowledges that the Court’s determination of deference owed to the Independent Trustees is not
dispositive in this case, given the sliding-scale nature of the inquiry. See Def.’s S.J. Mot. at 5 (“[Calamos] is not
arguing that the Independent Trustees’ evaluation of the Fund’s management fee[s] in and of itself, immunizes the
fees from any scrutiny.”).

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from Calamos a




                                      Pls.’ Counter 56.1 ¶ 108. Plaintiffs contend that Calamos

responded to this request by furnishing “misleading” information, given that:
                                                                                -
                                               Pls.’ S.J. Opp. at 28. Plaintiffs argue that

Calamos’ presentation rendered impossible a true comparison of the fees paid by Calamos’

comparable institutional and sub-advisory clients, and obscured the fact that



                                                         According to Plaintiffs,



                                                     Id. at 28–29.

       Plaintiffs’ objection to Calamos’ response on this ground is unfounded. It is true that

Calamos did not provide the Trustees a



                                         However, contrary to Plaintiffs’ protestations, Calamos

provided much more than the fee ranges of comparable clients. Indeed, Calamos provided the

Independent Trustees with the effective fee rate for the Fund, as well as an aggregate effective

fee rate for all of Calamos’ institutional and sub-advisory clients with AUMs over $25 million.



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See Pls. ' Counter 56.1 ,i l l0(d)-(e). Moreover, this info1mation reveals that in 2015 , for

example, the Fund paid an effective fee rate   ofl     basis points; institutional clients paid an

average effective fee rate   ofl   basis points; and sub-adviso1y accounts paid an average effective

fee rate   ofl   basis points. See Calamos' 2016 15(c) Response, Deel. of Mark A. Strauss in Opp.

to Def's Mot. for Summ. J. ("Strauss Deel."), Doc. 77, Ex. 14 at 00535107-09. Thus, the

Tmstees were well aware that Calamos ' comparable institutional and sub-adviso1y clients were

paying fees                                     Pls.' S.J. Opp. at 28. That the infonnation was

displayed in a different fo1mat does not amount to a "deficien[cy]" or "with[o ]ld[ing]" of

"impo1tant infonnation" that would require the Comt to "take a more rigorous look at" the

Tmstees' dete1mination. Jones, 559 U.S. at 35 1. Consequently, Plaintiffs' contention that the

Independent Tmstees were misled with respect to whether Calamos adequately compared the

Fund's Adviso1y Fee to the fees paid by institutional and sub-adviso1y clients is unavailing.

           Moreover, deposition testimony relied upon by Plaintiffs make clear that the Independent

Tmstees placed little stock in the comparative fee data they received because they believed that

an analysis of the fee disparities did not account for the differences in services Calamos provided

to the Fund vis-a-vis Calamos ' institutional and sub-advisory clients. For example, dming his

deposition, Independent Tmstee John Neal testified that comparative data on the fees charged to

the Fund and Calamos' institutional clients mattered very little to him:




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       -                                      ***




       -
Dep. of Independent Tmstee John Neal (''Neal Dep."), Strauss Deel., Ex. 47 at 114: 10-21,

115:3- 8. Independent Trnstee Stephen B. Timbers testified in a similar fashion:




       -
       -
Dep. of Independent Tmstee Stephen B. Timbers ("Timbers Dep."), Strauss Deel., Ex. 49 at

120:25- 121 :8.

       In sum, Calamos presented the Independent Trnstees with sufficient info1mation to

evaluate the disparity in fees between the Fund and Calamos ' institutional and sub-adviso1y

clients. Indeed, Plaintiffs conceded as much dm ing oral argument:

       THE COURT:         Well, again, I'm just trying to understand all of this, but as I
                          understand it, the effective rate for the Fund was 85 [basis
                          points], con ect?

       PLAINTIFFS:        C01Tect.



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       THE COURT:          And the effective rate for institutional clients was   I ,according
                           to [Calamos'] cha1t?

       PLAINTIFFS:         The effective rate for all of the institutional clients, it's not clear
                           whether that's an average, whether that's a weighted average,
                           and that pe1tains to all the institutional clients that they had
                           across all strategies. It's not broken out for the [Fund] and it is
                           not clear what the total AUM that was on.

       THE COURT:


       PLAINTIFFS:

       THE COURT:
                           -
                           But even taking all of that, I mean,


                           CoITect.

                           And the effective rate for the sub-advised funds was
                           then, even given all of your caveats,

       PLAINTIFFS:         Conect.

       THE COURT:          So, if nothing else, the Independent Trustees knew, even with
                           the incomplete info1mation, that the Fund was paying
                           substantially more than the other clients.

       PLAINTIFFS:         That is conect.

Summ. J . Oral Arg. Tr. at 59:7- 60:4.

               2. Service and Risk Differences Between Clients

       Second, Plaintiffs contend that the Tmstees were given misleading and incomplete

info1mation with respect to alleged service and risk differences that justified the fee disparity.

As Plaintiffs tell it, the disparity in fees Calamos charges to the Fund vis-a-vis fees charged to

comparable institutional and sub-advis01y clients is unjustified because the portfolio

management services provided to the Fund, institutional clients, and sub-adviso1y clients alike

are vi1tually identical and constitute the "single most impo1tant se1vice perfo1med for actively

managed mutual funds." Pis. ' S.J. Opp. at 7 (quoting John P. Freeman et al., Mutual Fund

Adviso1y Fees: New Evidence and a Fair Fiduciary Duty Test, 61 OKLA. L. REV. 83, 84

(2008)); id. at 30. Because Calamos did not provide the Tmstees with any quantitative or


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qualitative information (other than its say-so) justifying its receipt of higher fees from the Fund

vis-à-vis Calamos’ institutional and sub-advisory clients, Plaintiffs argue that the Trustees had no

basis to conclude the Advisory Fees were warranted. Id. at 30. Put differently, Plaintiffs assert

that the Trustees displayed a lack of conscientiousness during their evaluation given that they

failed to inquire into why the Fund pays                            of Calamos’ other clients for

what Plaintiffs assert are de minimis additional services.

       In response, Calamos notes that Plaintiffs’ own experts concede that the services and

risks that Calamos undertakes for the Fund do differ, at least to some extent, from those Calamos

undertakes with respect to its other clients; and the same experts further concede that Jones does

not require fee parity between funds. See Def.’s S.J. Mot. at 27 n.122 (citing Dep. of Mercer E.

Bullard (“Bullard Dep.”) 74:5–12, 423:24–424:21, 433:19–434:24; Dep. of Steve Pomerantz

(“Pomerantz Dep.”) 279:16–24, 280:21–281:8, 312:10–313:5); see also Def.’s Reply, Doc. 91, at

11 n.49 (same). However, those admissions, standing alone, do not end the Court’s inquiry.

       Tellingly, Calamos does not point the Court to record evidence indicating the

Independent Trustees engaged in a robust review of the differences in services rendered to the

Fund vis-à-vis Calamos’ non-Fund clients; nor does Calamos point to evidence demonstrating

that the Trustees were conscientious in their review of the little information they received.

Rather, Calamos relies almost exclusively on the same three slides from the

                                      presentation it provided to the Trustees, which contains a

                                                                          and appears virtually

verbatim in every annual 15(c) Response. See Pls.’ Counter 56.1 ¶ 112 n.178, 182, 184–185,




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187–188; id. ¶ 189. Such information hardly establishes that the Trustees’ consideration of the

differences in services and risk was robust. 10

         By contrast, and just by way of example, in In re BlackRock Mutual Funds Advisory Fee

Litigation, the district court there concluded that a board’s comparative analysis of services

provided to a fund and sub-advisory funds was entitled to substantial deference. --- F.3d ---, No.

14-1165 (FTW) (TJB), 2018 WL 3075916, at *17–20 (D.N.J. June 21, 2018). In reaching that

conclusion, the district court noted that the board considered “[f]ee [c]omparison [m]emoranda”

that included a comprehensive checklist of the various services provided to the fund, detailed

qualitative analysis of how the services provided to the fund differed from those provided to

Blackrock’s sub-advisory funds, and “provided the estimated costs of providing the listed

services in separate presentations to the Board.” Id. at *19.

         Here, while the ICA “does not necessarily ensure fee parity between mutual funds and

institutional clients,” Jones, 559 U.S. at 350, the lack of evidence indicating that the Independent

Trustees conscientiously considered the differences in services and risk between the Fund and

Calamos’ other clients suggests that the Trustees’ 15(c) Process was deficient in its evaluation of

the Advisory Fees. In pushing for summary judgment, Calamos cannot persuasively maintain


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  Calamos also correctly notes that Plaintiffs’ expert, Mercer Bullard, approvingly cites a 2006 publication of the
Investment Company Institute, which explains that “[m]utual funds and institutional accounts are very different
investment products” because they “operate under different legal and regulatory structures, and have different
business risks.” Def.’s Reply at 12 n.50 (quoting Investment Company Institute, “Mutual Funds and Institutional
Accounts: A Comparison,” (2006), at 1 (available at https://www.ici.org/pdf/ppr_06_mf_inst_comparison.pdf)). Of
course, the aforementioned statement is neither novel nor controversial. See Jones, 559 at 350 n.8 (“[A] showing of
relevance requires courts to assess any disparity in fees in light of the different markets for advisory services.”).
What is novel and controversial, however, is the notion seemingly advanced by Calamos—that Section 36(b) allows
for Independent Trustees to rely solely on their business judgment and intuition in approving the Fund’s Advisory
Fees, without regard to any sort of comparative data between the Fund’s fees and non-Fund fees in light of the
actual differences in risks incurred and services rendered by Calamos. Accepting such a view would render Section
36(b) purposeless, given that Congress could have simply prescribed dispositive deference to board approval of
advisory fees. Moreover, this view runs counter to the accepted fact that “scrutiny of investment adviser
compensation by a fully informed mutual fund board is the cornerstone of the [ICA’s] effort to control conflicts of
interest within mutual funds.” Jones, 559 U.S. at 348 (emphasis added) (internal quotation marks and alteration
omitted).

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that the Trustees found irrelevant the disparity in fee rates charged to the Fund vis-à-vis

Calamos’ institutional and sub-advisory clients due to differences in services and risks, yet at the

same time maintain that the Trustees need not have received actual evidence detailing the

differences in services and risks. Cf. Gallus v. Ameriprise Fin., Inc., 675 F.3d 1173, 1180 (8th

Cir. 2012) (affording “less deference” to board’s approval of advisory fee when board of

directors “was not apprised of all relevant information regarding the fee discrepancy between

Ameriprise’s mutual fund and institutional clients” (emphasis added)).

               3. Insufficient Consideration of Data

       Third, and finally, Plaintiffs contend that the Independent Trustees did not

conscientiously consider the peer fund information proffered by Calamos. Specifically,

Plaintiffs take issue with the Trustees’ observation that the Advisory Fees were



-                                                                                    -
          relative to its peers. Pls.’ S.J. Opp. at 31 (citation omitted). It appears that Plaintiffs

would have preferred the Trustees to recognize that “the Fund’s fees stand out at the highest end

of the range relative to its peer,” and not simply                        Id. The Court finds

Plaintiffs’ argument on this point unavailing. It is undisputed that the Trustees were provided

detailed fee comparison data from industry-recognized, third-party sources; and it is undisputed

that the data indicated the Fund’s fee placement relative to its peers. See Pls.’ Counter 56.1 ¶¶

87, 94–100, 105–107, 114–25.

                                                 ***

       In sum, the Court concludes that Plaintiffs have produced evidence to raise a genuine

dispute of material fact with respect to the care and conscientiousness of the Independent

Trustees’ evaluation process. In particular, the Trustees’ process in evaluating comparative fee

structures, while thorough in several respects, exhibited material deficiencies in other respects.



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Accordingly, at this stage in the litigation the Court is unable to afford, as a matter of law,

substantial deference to the Trustees’ approval of the Fund’s Advisory Fees.

       B. Alleged Deficiencies Involving the Trustees’ Evaluation of Profitability

       Plaintiffs contend that the Independent Trustees’ review of the Fund’s profitability was

deficient because Calamos’ presentations on this point materially understated the Fund’s

profitability. Pls.’ S.J. Opp. at 30–31. The Court finds this contention wholly lacking in merit,

as it rests almost entirely on Plaintiffs’ disapproval of Calamos’ use of an                      cost-

allocation method to analyze profitability—a method Plaintiffs recognize is commonly accepted

within the industry. See Pomerantz Dep. 208:21–209:19 (recognizing                                for

cost allocation). Moreover, as discussed above, see supra Part I.E.3, the Independent Trustees

were fully informed about Calamos’ profitability methodology, thoroughly discussed the impact

that methodology would have on the profitability figures Calamos reported vis-à-vis alternative

methodologies, and formally approved of Calamos’ use of that methodology, see Pls.’ Counter

56.1 ¶¶ 131–36. As another court aptly stated, “Plaintiffs may disagree with the [Trustees’]

evaluation of the information, but that disagreement does not raise a triable issue of fact

regarding the [Trustees’] diligence where it is undisputed that plaintiffs’ preferred method was

considered and rejected.” Zehrer, 2018 WL 1293230, at *9.

       C. Alleged Deficiencies Involving the Trustees’ Evaluation of Economies of Scale

       Plaintiffs next allege that the Trustees’ evaluation of economies of scale was deficient. In

particular, Plaintiffs contend that Calamos’ presentations to the Trustees, in which it maintained

that any economies of scale realized were shared adequately with the Fund’s shareholders

(through breakpoints, for example) lacked any quantitative basis. Pls.’ S.J. Opp. at 32. The

Court disagrees.



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       While Plaintiffs take issue with the Trustees accepting Calamos’ economies-of-scale

representations, Plaintiffs cannot seriously contend that the Trustees failed to engage in a robust

review of the myriad data they received from Calamos. Nor can Plaintiffs seriously contend that

Calamos withheld important information from the Trustees. Moreover, while Plaintiffs make

much of the fact that



-          computations quantifying economies of scales potentially realized by Calamos, id. at

33, the Court finds the Trustees’ actions (or lack thereof) unremarkable, given the Trustees’

knowledge that the Fund’s AUM had been declining steadily, year after year.

       Plaintiffs further contend that Calamos misled the Independent Trustees when it told

them that, to the extent it realized economies of scale, such economies were shared adequately

with the Fund’s shareholders through “significant investments” to the Fund’s portfolio

management and research teams. Specifically, Plaintiffs suggest that Calamos’ representations

were lies per se because



-      Id. at 33. The Court disagrees. For one thing, the addition of personnel is one of many

types of “significant investments” that can be made by an investment adviser to its research and

management teams, not the only type. Moreover, even assuming Plaintiffs’ claim of downsizing

to be true, the Trustees could very well have concluded that Calamos “added by subtracting”

with respect to personnel and reorganization, so to speak. Therefore, on this point, Plaintiffs fail

to show either a deficiency in the Trustees’ evaluation of economies of scale or a withholding of

material information by Calamos.




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            D. Alleged Deficiencies Involving the Trustees’ Evaluation of the Nature and
               Quality of Calamos’ Services

            Plaintiffs challenge the Independent Trustees’ evaluation of the nature and quality of

services provided to the Fund. Specifically, Plaintiffs contend that the Trustees’ evaluation

failed to distinguish the services Calamos furnished pursuant to the IMA from the services it

furnished pursuant to the FASA. Id. at 33–34. As one Independent Trustee acknowledged, the

Trustees



                                                                                                   Decl.

of John Neal, Kotler Decl., Ex. 71 at ¶ 17. Plaintiffs note that the Advisory Fee is provided in

exchange for work done pursuant to the IMA, and Calamos receives an additional fee for

services provided pursuant to the FASA. Consequently, Plaintiffs contend the Trustees should

have analyzed the nature of services provided in support of the IMA only, and should not have

“bundled” those services with services funded through the FASA.

            In response, Calamos contends that “the IMA itself obligates [Calamos] to provide all of

the services required by the Fund, regardless of their classification by Plaintiffs.” 11 Def.’s S.J.

Mot. at 33. Calamos notes further that the Advisory Fee for services pursuant to the IMA is 80

times greater than the FASA fee. Id. In Calamos’ view, given the small size of the FASA fee

relative to the Advisory Fee, as well as Calamos’ obligation to provide all services required by

the Fund even absent FASA, the Trustees acted appropriately in failing to distinguish the

services rendered pursuant to each contract. Id. at 33–34.

            The Court agrees with Plaintiffs that “[Section] 36(b) requires that transactions be

considered separately and not aggregated.” Pls.’ S.J. Opp. at 34; accord Zehrer, 2018 WL


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     Plaintiffs dispute this assertion.

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1293230, at *10 (“[T]he legislative history of § 36(b) suggests that the key consideration [in

evaluating the nature and quality of the services provided to a fund] is what services were

secured by the fee paid.” (emphasis added)); In re Blackrock, 2018 WL 3075916, at *25

(denying summary judgment to defendants when parties presented conflicting evidence

concerning whether investment adviser provides certain services under the IMA in exchange for

the advisory fee at issue, “as opposed to under separate agreements in exchange for separate

fees”); Kasilag v. Hartford Inv. Fin. Servs., LLC, No. 11-1083 (RMB/KMW), 2017 WL 773880,

at *19 (D.N.J. Feb. 28, 2017) (“This is a challenge of the investment management fee that

Defendants collected; that fee was paid pursuant to the IMAs. As such, the Court will consider

all services provided under the IMAs for that fee, whether Defendants performed them or hired

others to fulfill their obligations.” (emphasis added)), aff’d, No. 17-1653, 2018 WL 3913102 (3d

Cir. Aug. 15, 2018). Moreover, Plaintiffs have proffered evidence suggesting the Trustees failed

to consider the excessiveness vel non of the Advisory Fees in light of the services provided

pursuant to those fees. See supra Part V.A. Consequently, the Court concludes that Plaintiffs, at

the very least, have raised genuine questions of material fact with respect to whether the

Independent Trustees exhibited a lack of conscientiousness when it evaluated Calamos’ services

in a “bundled” fashion.

       Plaintiffs also challenge the Trustees’ evaluation of the quality of services Calamos

provided to the Fund, but do not allege either that Calamos withheld pertinent information on

this point from the Trustees or that the Trustees failed to consider Calamos’ performance data.

Accordingly, the Court deems proper the Trustees’ process as to this factor.




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       E. Alleged Deficiencies Involving the Trustees’ Evaluation of Fall-Out Benefits

       Plaintiffs contend that the Independent Trustees’ evaluation of fall-out benefits “suffered

from nondisclosure.” Pls.’ S.J. Opp. at 34. In particular, Plaintiffs contend that Calamos failed

to disclose “any information about the main fall-out benefit received—the millions of dollars in

fees generated by cloning the Fund’s portfolio for the [institutional and sub-advisory accounts

that were invested in the same investment strategy].” Id. Plaintiffs further contend that the

Trustees displayed a lack of conscientiousness when it did not inquire about this potential fall-

out benefit.

       The Court disagrees. As Calamos points out, revenues from advising institutional and

sub-advisory clients do not constitute a fall-out benefit “under any definition utilized in a Section

36(b) case, as confirmed by the rejection of precisely this same argument in Gallus.” Def.’s

Reply at 15; see also Gallus v. Ameriprise Fin., Inc., 497 F. Supp. 2d 974, 981 (D. Minn. 2007),

rev’d and remanded on other grounds, 561 F.3d 816 (8th Cir. 2009), cert. granted, judgment

vacated, 559 U.S. 1046 (2010), and order reinstated sub nom. Gallus v. Am. Exp. Fin. Corp.,

2010 WL 5137419 (D. Minn. Dec. 10, 2010), aff’d, 675 F.3d 1173 (8th Cir. 2012). Moreover,

Plaintiffs do not dispute that Calamos proffered, and the Trustees considered, several other fall-

out benefits Calamos may have accrued by virtue of its relationship to the Fund. See Pls.’

Counter 56.1 ¶¶ 150–54. With these facts in mind, the Court cannot find error in the

Independent Trustees’ evaluation of this Gartenberg factor.

       F. Other Alleged Deficiencies in the Rule 15(c) Process

       In addition to purported deficiencies in the Trustees’ evaluation of the Gartenberg

factors, Plaintiffs contend that the Trustees also failed to negotiate with Calamos. This argument

can be easily dismissed. It is well settled that Section 36(b) does not require negotiation between



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a board of trustees and fund investment adviser. See, e.g., Zehrer, 2018 WL 1293230 at *7

(“Even if the Board might have driven a harder bargain, the legal standard does not require

that.”); In re BlackRock, 2018 WL 3075916, at *16 (“Plaintiffs’ arguments regarding the Board’s

process for negotiating fees are unavailing, because the ICA does not impose a duty on the board

of directors of a mutual fund to negotiate the lowest possible advisory fee as compensation for an

investment adviser’s services, and thus, the Board’s purported failure to secure the lowest fees

for the Funds’ shareholders provides no basis for undermining the Board’s decision to approve

BRA’s Advisory’s Fee.”)

                                               ***

       For the reasons aforementioned, the Court concludes that the Trustees’ evaluation of the

Advisory Fees, while robust and informed in many respects, suffered from material deficiencies

in process and substance. Consequently, while the Court will afford appreciable weight to the

Trustees’ consideration and subsequent approval of the Advisory Fees, the Court nonetheless

“must take a more rigorous look at the outcome.” Jones, 559 U.S. at 351.

VI. THE GARTENBERG FACTORS

       As mentioned above, the touchstone of Section 36(b) liability is whether Calamos’

Advisory Fee is so disproportionately large that it bears no reasonable relationship to the services

rendered and could not have been the product of arm’s length bargaining. See Jones, 559 U.S. at

346. In making this assessment, courts are to take into consideration “all pertinent facts,”

including facts relevant to the Gartenberg factors. Id. at 344–45. “Given the inherently fact-

sensitive nature of the Gartenberg analysis, of those few cases that have reached the summary

judgment stage with regard to § 36(b) claims, even fewer courts have granted summary

judgment.” In re Blackrock, 2018 WL 3075916, at *21. Ultimately, because the Court finds



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triable issues of material fact with respect to comparative fee structures, the nature and quality of

services provided to the Fund, and the Fund’s profitability, Calamos’ summary judgment motion

will be denied.

       A. Comparative Fee Structures

       The first Gartenberg factor that Calamos addresses is comparative fee structures. On this

factor, Calamos offers three reasons why Plaintiffs have failed to produce a genuine issue of

material fact tending to show that the Fund’s Advisory Fee is excessive. Def.’s S.J. Mot. at 23,

28–29. None is persuasive.

       First, Calamos contends that there is no triable issue of material fact relating to

comparative fee structures because Plaintiffs have “refused” to define the arm’s-length

bargaining range for the Fund’s Advisory Fee. In response, Plaintiffs argue that Jones and

Gartenberg make clear that plaintiffs challenging excessive fees under Section 36(b) do not need

to point to a numerical range of fees per se to establish whether the challenged fee is so

disproportionately large that it could not have been the product of arm’s length bargaining. The

Court agrees. See Jones, 559 U.S. at 352 (“In reviewing compensation under § 36(b), the Act

does not require courts to engage in a precise calculation of fees representative of arm’s-length

bargaining.”). Therefore, to the extent Calamos contends that Plaintiffs must proffer a number

(or a range of numbers) above which the Advisory Fee is excessive per se, the Court expressly

rejects such contention. And, in any event, Plaintiffs do posit a range of fees to compare with the

Fund’s Advisory Fee. Specifically, Plaintiffs cite the fees charged to Calamos’ institutional and

sub-advisory clients—or, as described by Plaintiffs, Calamos’ “non-captive, arm’s length

clients”—as the “benchmark for reviewing challenged fees.” See Pls.’ S.J. Opp. at 11 (citing

Jones, 559 U.S. at 347); Resps. & Objs. to Pls.’ Interrogs., Doc. 77, Ex. 59 at 4. For example,



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Plaintiffs point to discovery produced by Calamos indicating that Calamos charged those clients



See Summ. J. Oral Arg. Tr. at 45:10–46:3; see also Pls.’ Statement of Additional Material Facts,

Doc. 77, ¶¶ 217–20. From the outset of the lawsuit, Plaintiffs have maintained that the gross

disparities in fees charged to Calamos’ “captive” funds vis-à-vis its “non-captive” clients

utilizing comparable investment strategies and services reflect a lack of arm’s-length bargaining

with the former. Plaintiffs’ reliance on fees charged to Calamos’ other clients to establish a

benchmark for reviewing the Advisory Fee is thus proper at this stage in the litigation. Of

course, at trial Plaintiffs will still bear the burden of proving that their benchmark is probative to

the question whether Fund’s Advisory Fee is excessive.

       Second, while Calamos concedes that the Fund’s Advisory Fee is higher than the fee it

typically charges its institutional and sub-advisory clients, Calamos argues that it provides a

greater level of services and undertakes a greater set of risks with respect to the Fund, making a

fee comparison between the Fund and Calamos’ non-Fund clients “inapt” in this case. Def.’s

S.J. Mot. at 29. What is more, Calamos point to a bevy of case law rejecting comparisons

between mutual funds and non-mutual fund clients. Id. at 30 (citing Kalish v. Franklin Advisers,

Inc., 742 F. Supp. 1222, 1237 (S.D.N.Y. 1990), aff’d, 928 F.2d 590 (2d Cir. 1991); Krinsk v.

Fund Asset Mgmt., Inc., 715 F. Supp. 472, 486 (S.D.N.Y. 1988), aff’d, 875 F.2d 404 (2d Cir.

1989); Schuyt v. Rowe Price Prime Reserve Fund, Inc., 663 F. Supp. 962, 974 n.38 (S.D.N.Y.

1987, aff’d, 835 F.2d 45 (2d Cir. 1987); Gallus, 497 F. Supp. 2d at 982); see also Goodman v.

J.P. Morgan Inv. Mgmt., Inc., 301 F. Supp. 3d 759, 770–74 (S.D. Ohio 2018).

       Calamos’ argument has some merit. In Gartenberg, for example, the Second Circuit

rejected comparisons between fees charged by an adviser to a money market fund versus fees it



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charged to a pension fund, noting that “[t]he nature and extent of the services required by each

type of fund differ sharply,” and crediting the district court’s conclusion that the pension fund in

question “d[id] not face the myriad of daily purchases and redemptions throughout the nation

which must be handled by the [money market fund].” 694 F.2d at 930 n.3. Similarly, the

Supreme Court in Jones noted that “[c]omparisons with fees charged to institutional

clients . . . will not doom any fund to trial” absent evidence by plaintiffs showing “a large

disparity in fees that cannot be explained by the different services in addition to other evidence

that the fee is outside the arm’s length range.” 559 U.S. at 350 n.8 (emphasis added) (internal

quotation marks and citation omitted). Thus, Calamos is correct insofar as it asks this Court to

reject fee comparisons between the Fund and non-Fund clients given the differences in services

provided and risks undertaken by Calamos.

       The flaw in Calamos’ argument, however, is that the difference in services and risks are

disputed, and Plaintiffs have produced sufficient evidence raising a triable fact as to whether

such differences in services exist and are material, as opposed to de minimis. Naturally,

Plaintiffs maintain that there are triable issues of fact related to whether Calamos’ claimed

service and risks differences are “illusory.” Pls.’ S.J. Opp. at 7. And Plaintiffs have produced

voluminous evidence in support. For example, Plaintiffs produced evidence suggesting the

administrative and legal services provided to the Fund by Calamos are furnished pursuant to

FASA, not the IMA; the non-Fund clients actually received more “shareholder services” from

Calamos than the Fund received; and the “entrepreneurial risks” undertaken by Calamos in

managing the Fund are negligible. See Pls.’ S.J. Opp. at 10, 13–14.

       Moreover, as noted in this Court’s previous opinion on Calamos’ motion to dismiss, the

Supreme Court in Jones explicitly rejected a categorical rule prohibiting comparisons to



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institutional-client fees and instead instructed courts to give those comparisons “the weight that

they merit in light of the similarities and differences between the services that the clients in

question require.” Jones, 559 U.S. at 349–50. And, unlike the instant dispute, the myriad cases

cited by Calamos in which courts rejected comparisons between mutual funds and non-funds

involve findings made either following a bench trial, see, e.g., Kalish, 742 F. Supp. at 1249, or

where differences in services and risks were uncontroverted, see, e.g., Goodman, 301 F. Supp. 3d

at 770–72.

       Of course, if at trial the Court determines that “the services rendered are sufficiently

different that a comparison is not probative” then the Court “must reject such a comparison.”

Jones, 559 U.S. at 350. However, this fact-intensive inquiry concerning disputed facts is best

reserved for trial. See In re Blackrock, 2018 WL 3075916, at *26 (“Finally, Defendants’ argument

that BRA’s and BRIM’s subadvisory services are not comparable, because of the different

entrepreneurial, reputational, legal, and regulatory risks assumed by BRA, is too fact intensive to

be decided on summary judgment.”); Kasilag v. Hartford Inv. Fin. Servs., LLC, No. 11-1083

(RMB/KMW), 2016 WL 1394347, at *18 (D.N.J. Apr. 7, 2016) (declining to award summary

judgment to defendant investment adviser on comparative fees factor because “[i]f a jury were to

find that th[e challenged] fee exceeded an arm’s length fee . . . in combination with resolving other

factual disputes in Plaintiffs’ favor, such findings could override the substantial deference given

to the Board’s result”).

       Third, and finally, Calamos argues that the Fund’s Advisory Fees cannot be deemed

excessive under any set of circumstances because they fall within the range of fees assessed by

funds in their peer group. Def.’s S.J. Mot. at 28. In response, Plaintiffs concede that the Fund’s

Advisory Fee is within the range of fees charged to peer mutual funds by other investment



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advisors but nevertheless argue that “the Fund’s fees stand out at the highest end of the range”

and therefore urge the Court not to place much stock in this comparison. Pls.’ S.J. Opp. at 14.

The Court agrees with Plaintiffs insofar as they argue that fee placement among peers is not

dispositive.

       Nowhere in Jones does the Supreme Court state that an investment adviser’s fees are

insulated from review if the fees fall within the range charged by third-party investment advisers

to comparable third-party funds. To the contrary, both Jones and Gartenberg make clear that

“the test is essentially whether the fee schedule represents a charge within the range of what

would have been negotiated at arm’s-length in the light of all of the surrounding circumstances.”

Jones, 559 U.S. at 344 (emphasis added) (quoting Gartenberg, 694 F.2d at 928). Indeed, the

Supreme Court in Jones explained that “courts should not rely too heavily on comparisons with

fees charged to mutual funds by other advisers. These comparisons are problematic because

these fees, like those challenged, may not be the product of negotiations conducted at arm’s

length.” Jones, 559 U.S. at 350–51. The Second Circuit in Gartenberg similarly expressed

skepticism at such comparisons, noting that “if rates charged by the many other advisers were an

affirmative competitive criterion, there would be little purpose in § 36(b).” Gartenberg, 694

F.2d at 929; see also id.at 929–30 (expressly rejecting the district court’s conclusions that “[t]he

market price . . . serves as a standard to test the fairness of the investment advisory fee” in part

because “the existence in most cases of an unseverable relationship between the adviser-manager

and the fund it services tends to weaken the weight to be given to rates charged by advisers of

other similar funds”). Here, the placement of the Fund’s Advisory Fee vis-à-vis the Fund’s peer

group hardly comprises all the surrounding circumstances relevant. Consequently, while the

Court “do[es] not suggest that rates charged by other adviser-managers to other similar funds are



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not a factor to be taken into account,” id. (emphasis added), the Court rejects Calamos’ argument

insofar as it asks this Court to afford dispositive weight to the placement of the Advisory Fee

among the range of fees charged by other advisers to other funds.

       Nonetheless, the problematic nature of comparative fee data strikes both ways. Hence,

Plaintiffs will be hard-pressed to prevail at trial merely by demonstrating solely that the

challenged Advisory Fees are higher, even much higher, than those charged to Calamos’

comparable institutional and sub-advisory clients; nor can Plaintiffs prevail by demonstrating

solely that the Fees are higher, even much higher, than those charged by third parties to peer

funds. It is neither the province nor the duty of federal courts to “assess the fairness or

reasonableness of advisers’ fees; the goal is to identify the outer bounds of arm’s length

bargaining and not engage in rate regulation.” Paskowitz v. Prospect Cap. Mgmt. L.P., 232 F.

Supp. 3d 498, 501 (S.D.N.Y. 2017) (quoting Jones v. Harris. Assocs. L.P. (Jones II), 611 F.

App’x 359, 360 (7th Cir. 2015)). Consequently, as mentioned above, at trial Plaintiffs must do

more than simply establish a disparity in fees assessed to peer funds to prove a Section 36(b)

violation.

       B. Economies of Scale

       “[T]o show economies of scale, [P]laintiff[s] [bear] the burden of proving that the per

unit cost of performing Fund transactions decreased as the number of transactions increased.”

Krinsk v. Fund Asset Mgmt., Inc., 875 F.2d 404, 411 (2d Cir. 1989). Here, Plaintiffs contend that

triable issues of fact exist with respect to economies of scale realized by Calamos. Specifically,

Plaintiffs contend that Calamos’ conclusion that it did not realize economies of scale rests on a

flawed assumption—namely,

                                          Pls.’ S.J. Opp. at 18. To support their view, Plaintiffs



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rely on a logarithmic model tendered by their expert Steve Pomerantz, which purports to show

that “over the entire Damages Period, Calamos passed on cost savings to Fund investors of

nearly
         -          , but retained nearly
                                            -         in cost savings for itself.” Pomerantz Report

at 225. Pomerantz also opines that “[e]ven though the Fund has decreased in size, it still enjoys

enormous economies of scale” resulting from its historic growth. Pomerantz ultimately

concludes, “As a result, the benefits of economies of scale in Calamos’ costs accrue to Calamos

at extremely high profits, with net margins far exceeding those identified in the 15c Profitability

Presentations.” Id. at 227.

         Calamos asserts that Pomerantz’s model is insufficient alone to create a triable issue of

fact because: (1) the Fund decreased in size each year within the relevant period, and therefore

economies of scale could not exist; (2) Plaintiffs fail to produce evidence tending to prove that

the per unit cost of performing Fund transactions decreased as the number of transactions

increased; and (3) even assuming economies of scale were realized, Plaintiffs fail to establish

why the existing breakpoints contained within the Fund’s fee schedules inadequately shared the

cost savings. After considering both sides, the Court agrees with Calamos that Plaintiffs have

produced deficient proof as to economies of scale.

         At the outset, the Court notes that although the Fund shrank in size throughout the

relevant damages period here, this fact alone does not foreclose Plaintiffs’ argument that



                              Pls.’ S.J. Opp. at 19. While Section 36(b) provides that “[n]o award

of damages shall be recoverable for any period prior to one year before the action was

instituted,” 15 U.S.C. § 80a-35(b), “recognizing that statistical trends outside the one-year period

may, in some instances, demonstrate excessive fees within the relevant time period, various



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courts have permitted plaintiffs to present evidence of economies of scale beyond the one-year

period preceding the commencement of a § 36(b) action,” In re Blackrock, 2018 WL 3075916, at

*30 (citation omitted) (collecting cases). The Court agrees with the logic of this approach. In

this case, Plaintiffs’ expert Steve Pomerantz points to the historic growth of the Fund and

contends that Calamos has shared only
                                                 -               of the approximately
                                                                                            -
resulting from economies of scale with the Fund’s shareholders. See Pls.’ S.J. Opp. at 18–20.

Such a fact, if proven, would be material to the question whether Calamos’ Advisory Fees are
                                                                                                            of savings




excessive given the economies of scales realized. For that reason, whereas the Court agrees with

Calamos’ statement that “it belies common sense to conclude that a fund with a rapidly declining

AUM during the Relevant Period actually realized any meaningful new economies of scale

during that period,” Def.’s S.J. Mot. at 25 n.117 (emphasis added), this statement is a red

herring—totally irrelevant to Plaintiffs allegation that Calamos continues to benefit from old

economies of scale unshared with the Fund, see Pls.’ S.J. Opp. at 19. 12

         That being said, the Court concludes that Plaintiffs have failed to produce admissible

evidence showing that the per-unit cost of performing Fund transactions decreased as the number

of transactions increased. It is well settled that “economies of scale cannot be inferred solely

from the fact that operating expenses declined at a time when the at-issue fund’s assets grew.” In

re Blackrock, 2018 WL 3075916, at *30 (citing Kalish, 742 F. Supp. at 1238). “Such an

inference . . . would disregard th[e] fact that ‘costs can change for many reasons other than

economies of scale,’ such as technological changes, falling input prices, or a change in the level

of service provided by an adviser.” Id. (quoting In re Am. Mut. Funds Fee Litig., No. CV 04-


12
  However, the Court notes, “Though it may be possible in certain circumstances to demonstrate the existence of
excessive fees by using statistical trends that do not fall squarely within the applicable one-year time period, . . . this
approach weakens Plaintiffs’ economies of scale argument considerably.” In re AllianceBernstein Mut. Fund
Excessive Fee Litig., No. 04 Civ. 4885 (SWK), 2006 WL 74439, at *2 (S.D.N.Y. Jan. 11, 2006).

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5593 GAF (RNBx), 2009 WL 5215755, at *28 (C.D. Cal. Dec. 28, 2009)). Rather, “to meet

their burden, Plaintiffs must make a substantive allegation regarding the actual transaction costs

at issue and whether the costs per investor increased or decreased as the assets under

management grew.” Hoffman v. UBS-AG, 591 F. Supp. 522, 540 (S.D.N.Y. 2008).

       In In re American Mutual Funds Fee Litigation, for example, the district court there

found an expert’s economies of scale analyses “inadequate” and his conclusions “materially

flawed” in part because the expert “did not undertake any analyses to determine whether any

other factors may have caused or contributed to the decrease in [the investment adviser]’s costs.”

2009 WL 5215755, at *28–29. Similarly, in Krinsk, the Second Circuit approved of the district

court’s finding that a Section 36(b) plaintiff “failed to sustain his burden of proof” with respect

to showing unshared economies of scale because “the fact that expenses . . . declined at a time

when the Fund size grew . . . . does not establish that such decline was necessarily due to

economies of scale.” 875 F.2d at 411 (internal quotation marks and citation omitted). Finally, in

In re Blackrock, while the district court there found that plaintiffs had sustained their burden of

raising a triable issue of fact on the economies of scale factor, the court nonetheless reminded

plaintiffs that “it will be Plaintiffs’ burden at trial to show that any disproportionality between

the Funds’ asset growth and operating expenses is attributable to economies of scale, rather than

other cost savings unrelated to scale economies.” 2018 WL 3075916, at *34.

       In the instant matter, Plaintiffs’ own expert concedes that he did not undertake any of the

necessary analyses required to demonstrate that Calamos achieved quantifiable economies of

scale in advising the Fund. Specifically, Pomerantz concedes that he did not conduct the

requisite per-unit analysis to demonstrate economies of scale, and he concedes that he did not




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“exclude external factors that could have resulted in the disproportionate growth rates between”

the Fund’s operating expenses and the Fund’s AUM, In re Blackrock, 2018 WL 3075916, at *33:

       CALAMOS:           Okay. Are you aware of any proof that the plaintiffs have put
                          together to identify or quantify economies of scale in the
                          Calamos growth fund other than the contents of your reports?

       POMERANTZ:         I—I don’t know what else exists.

                                               ***

       CALAMOS:           In any event, I think you’ve been clear on this, you did not do
                          any analysis of economies of scale using other measures of costs
                          such as total long run average cost, correct?

       POMERANTZ:         That’s – that’s – I’d say that’s correct.

                                               ***

       CALAMOS:           The point of your analysis was to prove how these advisory
                          costs, the ones we just covered, varied with fund assets or fund
                          size?

       POMERANTZ:         No. . . . My intention was to take the data that exists in the report
                          and say assuming that this data is—is accurate, what the total
                          costs were, what the total assets were, what that was—what
                          would happen if I tried to allocate assets using standard metrics,
                          . . . . I’m not testing anything. . . . I’m taking the data that’s in
                          the profitability report and I am calibrating the standard cost to
                          asset relationship model to it to calculate how it would allocate
                          costs.

       CALAMOS:           Based on assets?

       POMERANTZ:         If you just used assets as the driver.

       CALAMOS:           Right. . . . So did you investigate whether any factors other than
                          changes in assets caused changes in Calamos advisory costs
                          from 2014 to 2015?

       POMERANTZ:         No. I’m basically looking at what is it that assets would explain.

       CALAMOS:           Did you investigate how, for example, the organization of
                          Calamos’s investment team differed between those two years?



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       POMERANTZ:         I mean I’m vaguely familiar with lots of organizational changes.
                          In fact, the data seems to suggest that costs for the professionals
                          involved in the process went up but that—that’s obviously not a
                          complete picture because we do see total costs going down.

       CALAMOS:           But any changes in the investment team didn’t have an impact
                          on your analysis of the relationship between assets and costs,
                          right?

       POMERANTZ:         Well, I’m looking—I’m looking at the assets and I’m looking at
                          the total costs. Numbers that I—I think are accurate and I
                          believe. And I’m—and I’m asking the question how—how can
                          these varying assets levels explain the cost data that’s being
                          provided.

       CALAMOS:           I—I appreciate that. I accept that. I’m not arguing with that.
                          What I’m driving at is there are other factors that could have
                          impacted costs at Calamos in 2014 and 2015. I’m trying to get
                          at did you investigate the possible impact of these other factors.
                          That’s the thrust of these questions.

       POMERANTZ:         I’d say the answer is no.

Pomerantz Dep. 329:2–9, 333:13–20, 334:9–337:23 (emphasis added).

       To prove economies of scale, Plaintiffs must show that the costs per investor decreased as

the assets under management grew, and such a showing cannot be predicated solely from the fact

that expenses increased at a slower rate than the Fund’s assets. As stated aptly in In re

Blackrock, “[a]bsent such information . . . ‘there is no way to determine whether any economy of

scale even existed that could have been passed on to investors or whether there is another

explanation for the statistics’ identified by the plaintiff.” In re Blackrock, 2018 WL 3075916, at

*30 (quoting Hoffman, 591 F. Supp. at 540). Pomerantz’s expert report and corresponding

deposition testimony suggest that he did not consider such information. Moreover, aside from

Pomerantz’s opinions, Plaintiffs proffer no additional evidence demonstrating economies of




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scales realized by Calamos. Accordingly, summary judgment will be granted to Calamos on this

factor. 13

         C. Nature and Quality of Services

         The Court turns next to the nature and quality of services offered by Calamos to the

Fund. The Court concludes that there are triable issues of fact related to this Gartenberg factor

for two reasons. First, at the outset, “[t]his inquiry necessarily involves a determination of what

services may be permissibly considered.” Kasilag, 2016 WL 1394347, at *15. And as

mentioned above, see supra Part V.D, Plaintiffs contend that the proper services to be considered

are only those furnished to the Fund pursuant to the IMA, for which Calamos receives the

Advisory Fee, and not those furnished pursuant to the FASA, for which Calamos is paid pursuant

to a separate fee schedule. Calamos disagrees. Because the true nature of the services performed

pursuant to the IMA—that is, the contract giving rise to the Advisory Fees challenged in this

case—“remains relatively nebulous and wrangled-over, viewing the facts in the light most

favorable to Plaintiffs suggests that summary judgment on this factor is inappropriate.” Kasilag,

2016 WL 1394347, at *16.

         In addition, Plaintiffs have marshalled sufficient evidence to raise a triable issue of

material fact about whether the quality of services provided to the Fund was poor to such an

extent that the Fund’s Advisory Fees were excessive. “In evaluating the quality of the services

provided to funds, other courts have compared the performance of challenged funds against peer

funds.” Zehrer, 2018 WL 1293230, at *11 (collecting cases). In so doing here, the Court finds

that uncontroverted evidence reveals three facts that readily distinguish this case from others



13
  Because of Plaintiffs’ failure of proof as to Calamos’ realization of economies of scale, the Court need not
consider whether there is a triable issue of fact concerning whether Calamos adequately shared any economies of
scales it realized.

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applying Section 36(b): Calamos charged more than most other investment advisers; the Fund

performed worse than most comparable mutual funds; and

                                               See supra Part I.E.2. These facts separate the

instant case from cases in which plaintiffs either could not seriously challenge a fund’s fee

placement relative to its peer group or could not seriously challenge the fund’s performance. See

Goodman, 301 F. Supp. 3d at 781; Zehrer, 2018 WL 1293230, at *11; In re Blackrock, 2018 WL

3075916, at *21 n.37; Kasilag, 2016 WL 1394347, at *16. Such a unique ensemble of facts, if

proven at trial, could lead a rational factor to conclude that the challenged Advisory Fee “is so

disproportionately large that it bears no reasonable relationship to the services rendered and

could not have been the product of arm’s length bargaining.” Jones, 559 U.S. at 346.

       D. Profitability

       Plaintiffs contend that there are triable issues of facts regarding the Fund’s profitability.

Specifically, Plaintiffs take issue with Calamos’ method of calculating profitability—a so-called

“indirect cost allocation methodology” in which Calamos analyzes its profitability using an

                 approach that allocates indirect expenses to each fund in the CIT based on

                See, e.g., Strauss Decl., Ex. 14, at 00535117–18. According to Plaintiffs,
                                                                                             -
out that
                                                   Pls.’ S.J. Opp. at 15. As an example of
                                                                                             -
                                             produced by Calamos’ methodology, Plaintiffs point




                                   Id.; see also Calamos’ 2016 15(c) Response, Strauss Decl., Ex.



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14 at 00535128. 14 Plaintiffs argue that there are alternative cost allocation methods available

that demonstrate that Calamos receives materially higher profitability rates than those reported to

the Independent Trustees. Pls.’ S.J. Opp. at 16. Plaintiffs rely on a model created by their expert

Steve Pomerantz that reflects that the Fund had profitability rates of 71%, and not the

reflected by previous reports submitted to the Independent Trustees by Calamos. Id.

         In addition, Plaintiffs contend that Calamos’ methodology
                                                                                                          -

                                                                                         All told, Plaintiffs cite

these arguments, and several others, to support its assertion that the Fund’s true profitability to

Calamos tends to reveal the excessiveness of the Advisory Fees.

         Calamos disagrees. But aside from arguing that this Court simply defer to the

Independent Trustees’ approval of this allocation method, Calamos provides little in the form of

argument as to why Plaintiffs’ alternative profitability figures and evidence of reporting flaws do

not raise a triable dispute of material fact as to profitability. 15 See Def.’s S.J. Mot. at 30–31;

Def.’s Reply at 13–14. This is not enough to dispel the issues of material fact with respect to

profitability.

         That being said, the Court notes that it agrees with Plaintiffs expert Mercer Bullard, who

concedes that “an advisor’s profitability is a poor measure of the excessiveness of its fees


14
   Plaintiffs seem to refer to Calamos’ “Focus Growth ETF” relative to the Fund, as opposed to Calamos’ “Focus
Growth Fund.” See Strauss Decl., Ex. 14, at 00535128 (showing Fund expenses for employee compensation and
benefits as $9,407,000 versus $89,000 for the “Focus Growth ETF” and $195,000 for “Focus Growth”).
15
   Calamos also notes that “there is simply no per se rule as to how [it] must allocate indirect costs,” Def.’s Reply at
13, but this argument does not bear on the questions whether (1) Calamos’ cost allocation method best reflects the
Fund’s true profitability to Calamos and (2) whether the profits realized by Calamos weigh in favor of a conclusion
that Calamos’ Advisory Fees are excessive.

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because there is no necessary correlation between the two.” See Bullard Dep. 302:2–7.

Moreover, it is well settled that arguing Calamos “just plain made too much money . . . is not an

acceptable approach” to proving breach of fiduciary duty under Section 36(b). Kalish, 742 F.

Supp. at 1237. Indeed, “Section 36(b) does not prohibit an investment adviser from making a

profit, nor does it regulate the level of profit.” In re Am. Mut. Funds Fee Litig., 2009 WL

5215755, at *50. Nevertheless, a fund’s profitability to its adviser is at least one measure to take

into account when evaluating the excessiveness of the Fund’s Advisory Fee. See Jones, U.S. 559

at 344 n.5. Accordingly, Plaintiffs will have their day in court to submit evidence on the “fact-

intensive nature of the profitability inquiry.” In re Blackrock, 2018 WL 3075916, at *37.

However, given this Court’s conclusion regarding economies of scale, see supra Part VI.B, at

trial Plaintiffs will be unable to rely solely on the argument that the Fund was realizing

economies of scale unaccounted for.

       E. Fall-Out Benefits

       Plaintiffs contend that there are triable issues of facts regarding Calamos’ receipt of fall-

out benefits because the reports Calamos furnished



                                                                   Pls.’ S.J. Opp. at 23. However, as

mentioned above, Plaintiffs have pointed to no authorities that consider such fees as fall-out

benefits. Nor is it plain to the Court that such fees constitute fall-out benefits. Accordingly, no

triable issues of material facts have been raised on this point.

       F. Trustees’ Independence and Conscientiousness

       For the reasons stated above, see supra Part V, the Court concludes that there are triable

issues of fact related to the deference owed to the Trustees’ judgment.



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VII.     CONCLUSION

         In sum, the Court concludes that genuine disputes of material fact exist regarding the

Gartenberg factors related to comparative fee structures, profitability, the nature and quality of

services provided to the Fund, and the conscientiousness and care of the Trustees' evaluatjon of

the Advisory Fees. Consequently, the Court cannot say as a matter oflaw that Plaintiffs have

failed to raise a genuine dispute as to whether Calamos "charge[ d] a fee that is so

disproportionately large that it bears no reasonable relationship to the services rendered and

could not have been the product of arm's length bargaining." Jones, 559 U.S. at 346.

         For the foregoing reasons, Calamos' motion for summary judgment is GRANTED

insofar as Calamos seeks to establish that Plaintiffs have failed to raise triable issues of fact

related to economies of scale and fall-out benefits, and DENIED insofar as Calamos seeks

judgment as a matter oflaw on the other Gartenberg factors and Section 36(b) liability generally.

Moreover, the parties' Daubert motions are DE IED, as set forth above. The Clerk of the Court

is respectfully directed to terminate the summary judgment motion, Doc. 65, and the Daubert

motions, Docs. 88, 106, 109, 112, 115, 118.

It is SO ORDERED.

Dated:     September 30, 2018
           New Yark, ew York

                                                               Edgardo Ramos, U.S.D.J.




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